             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:06-cr-00031-MR-4


UNITED STATES OF AMERICA,       )
                                )
                                )
              vs.               )             ORDER
                                )
                                )
DANNY LEE HALL.                 )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s “Motion to

Amend Judgment” [Doc. 285].

     On April 4, 2006, the Defendant was charged along with eleven co-

defendants in a Bill of Indictment with one count of conspiracy to possess

with intent to distribute 500 grams or more of methamphetamine. It was

specifically charge that the offense “involved the manufacture of

methamphetamine and created a substantial risk of harm to human life

and/or the environment,” in violation of 21 U.S.C. §§ 841(a)(1) and 846.

[Doc. 1]. On July 6, 2006, the Defendant pled guilty pursuant to a written

plea agreement to the charge contained in the Bill of Indictment. On May

3, 2007, the Defendant was sentenced to a term of 130 months’

imprisonment. [Doc. 233].




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     In his present motion, the Defendant seeks dismissal of “the Harm to

Human [Life] Enhancement that was imposed at his sentencing” so that he

may be eligible for a sentence reduction for his successful completion of

the Residential Drug Abuse Program (RDAP). [Doc. 285]. The Defendant

has stated no basis on which the Court can amend the Judgment in this

case. The Defendant pled guilty to the conspiracy charge, including the

enhancement for creating a substantial risk to human life, and he does not

contend that his guilty plea was in any way unknowing or involuntary. The

Defendant further did not file a direct appeal of his conviction or sentence,

nor has he filed a motion to vacate his conviction under 28 U.S.C. § 2255.

     IT IS, THEREFORE, ORDERED that the Defendant’s “Motion to

Amend Judgment” [Doc. 285] is DENIED.

     IT IS SO ORDERED.

                                Signed: December 10, 2013




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